          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                       CRIMINAL CASE NO. 3:00cr42


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
DESMOND SENTELL DAILEY. )
                          )



      THIS MATTER is before the Court sua sponte.

      On April 29, 2008, counsel was appointed to investigate whether the

Defendant was entitled to any relief pursuant to the Crack Cocaine

Guideline Amendment (Amendment 706). [Doc. 117]. Although counsel

submitted a voucher and was paid, he did not file anything in the record to

advise whether the Defendant is eligible for such relief. [Doc. 132, filed July

29, 2008]. As a result, the Court will require counsel to so advise.

      IT IS, THEREFORE, ORDERED that on or before fifteen days from

entry of this Order, counsel shall file either a motion for reduction of

sentence or a notice of ineligibility, whichever is applicable to this

Defendant.


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IT IS SO ORDERED.




                              Signed: February 6, 2009




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